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                            UN ITED STATES DISTRICT COU RT               FILED B                       D.C.
                            SO U TH ERN D ISTRICT OF FLO RID A

                                CA SE N O :20-cv-20113-K M W                   Atlc 3 1 2022
                                                                              CANGELA E. NOBLE
                                                                             s. LERK U .S, DlSI c'E
                                                                               D.Or.rFLA .. f
                                                                                            rT.LAUD.

  STEV EN F.H ELFAN D ,


         Plaintif,
  V S.

  ESSLW GER W OOTEN M AXW ELL IN C.d/b/aBERKSHIRE HATHAW AY
  H O M ESERV ICES EW M REA LTY;ED W A RD PELO SO ;EJP 888 BISCAY NE BLV D 2712,
  LLC;andG RCELO STEINM ANDER,

         D efendants.

   PLM NTIFF'S RESPONSE TO ORDER TO SHOW CAUSE RE:M EDIATION lDkt.80l

         OnApril22,2020,thepartiesservedaNoticeofM ediatorSelectionandHearing
  selectingtheHonorableEllenLeesfied(Ret.)asM ediator.(Dkt.511.Mediationwmsoriginally
  setforJuly 27,2020. 1d.

         TheCourtenteredanAmendedScheduling tlrleronJuly2,2020 (Dk't.71).The
  deadline z/ com nlete e zfl/l/zzand xvâze tke M ediation Aep/rt is.Januarv 15.2021. 1d.,at

  p.2j.PlaintiF didnotunderstandthatanyfurtheractionwouldberequiredastomediation.
         Based on theAmended Scheduling Order,thepartiesm ovedthem ediation date to

  Septem ber29,2020 at10:00 am on Zoom * 111Judge Leesfield.

  A ugust31,2020                           /S/Steven F.H elfand
                                           PlaintiF
  STEVEN F.HELFAND
  1400 SW 137TH AVEN U E,F 112
  PEM BRO K E PINES,FL 33027
  786.676.1018
   I4OOSTEVEN.HELFAND@GMM L.COM


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                                 CE RTIFICATE O F SERW C E

             I hereby certify thata true and correctcopy of the foregoing w as served via e-m ail,
  butnotelectronically filed,on the 31stday ofAugust,2020,on a1lcounselorpadies ofrecord
  on the ServiceListbelow.


                                             By:/s/Steven Helfand

  AlbertM .Cardet,Esq.
  Jam es M .Shaw ,Esq.




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